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                                                                                   p        I    L      E     r\\
                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                   p
                                     RICHMOND DIVISION                                      JUL 1 4 2016      y
GARY McCRAY,                                                                           CLERK U.S. DiSTRiCT COURT
                                                                                             RICHMOND. VA


        Plaintiff,

V.                                             Civil Action No.              tJ/
                                               Richmond Circuit Court Case No. CL16-2536
BARRY L. NEELY


and


MILAN SUPPLY CHAIN SOLUTIONS, INC.,

        Defendants.



                                JOINT NOTICE OF REMOVAL


        Defendants Barry L. Neely ("Neely") and Milan Supply Chain Solutions, Inc. ("Milan")

(together, "Defendants"), by counsel and pursuant to 28 U.S.C. §§ 1441, file this Joint Notice of

Removal to remove this action to this Court from the Circuit Court for the City of Richmond,

Virginia. In support of this Joint Notice, Defendants state the following:

        1.      Upon information and belief, Plaintiff Gary McCray is, and was at all times

relevant hereto, a resident, citizen, and domiciliary of the State of Connecticut.

        2.      Upon information and belief, at the time this action commenced, and at the time

of removal, Neely was a resident, citizen, and domiciliary of the State of Tennessee.

        3.      At the time this action commenced, and at the time of removal, Milan was

organized under the laws of the State of Tennessee and had its principle place of business in the

State of Tennessee.




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        4.      The Plaintiff has filed a Complaint against the Defendants in the Circuit Court for

the City of Richmond, Virginia. A copy of the Plaintiffs Complaint and Defendants' Answer

and Objection to Venue and Motion to Transfer are attached collectively hereto as Exhibit A,

pursuant to 28 U.S.C. § 1446.

        5.      This Joint Notice is filed within thirty (30) days after service of the Plaintiffs

Complaint upon the Defendants and is filed not more than one (1) year after the commencement

of this action, pursuant to 28 U.S.C. § 1446(b).

        6.      This civil action is one over which this Court has original jurisdiction pursuant to

28 U.S.C. § 1332, and the amount in controversy alleged in the Complaint exceeds Seventy-Five

Thousand Dollars ($75,000.00) exclusive of interests and costs, and the action is between

citizens of different states.


        7.      Defendants have given notice of the filing of the Joint Notice of Removal to

counsel for the Plaintiff and have caused a copy to be filed with the Clerk of the Circuit Court for

the City of Richmond, Virginia.

        8.      The Court embraces the place where the state court action is pending.

        9.      The Defendants are represented by the same counsel and all join in the removal of

this case to the Court.


        WHEREFORE, the Defendants, by counsel, hereby give notice to this Court that this

action is removed to this Court from the Circuit Court for the City of Richmond, Virginia.




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DATED: July 14, 2016                                 BARRY L. NEELY and
                                                     MILAN SUPPLY CHAIN SOLUTIONS,
                                                     INC.



                                                                rOreen (VSB No. 46913)
                                                     "Gibson S. Wright (VSB No. 84632)
                                                      Attorneys for Neely and Milan
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                                                     mgreen@morrismorris.com
                                                     gwright@morrismorris.com

                                         CERTIFICATE


       I hereby certily that on July 14,2016,1 caused a true copy of the foregoing to be sent via

U.S. mail and facsimile to


Francis P. Hajek, Esquire
Wilson & Hajek, LLC
P.O. Box 206
Ivy, VA 22945
Facsimile: (434) 984-0881

and by mail to

Edward F. Jewett, Clerk
Richmond Circuit Court
400 North 9"^ Street
Richmond, VA 23219
                                                             1?:Wright (VSB No. 84632)
                                                     "Ttffomey for Neely and Milan
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